            Case 1:23-mj-00071-RMM Document 7 Filed 04/10/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  :
                                           :
                     Plaintiff,            :
                                           :
       v.                                  :       Criminal Action No. 23-mj-71-RMM-1
                                           :
HEATHER KEPLEY,                            :
                                           :
                     Defendant.            :


                                  ENTRY OF APPEARANCE

       PLEASE enter the appearance of Eleni Kousoulis, Esquire as counsel of record on

behalf of Defendant, Heather Kepley, in the above-captioned matter.



                                                   Respectfully submitted,


DATED: April 10, 2023                              /s/ Eleni Kousoulis
                                                   ELENI KOUSOULIS, ESQUIRE
                                                   Federal Public Defender
                                                   Office of the Federal Public Defender
                                                   District of Delaware
                                                   800 King Street, Suite 200
                                                   Wilmington, DE 19801
                                                   302-573-6010
                                                   de_ecf@fd.org
